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                                 UNITED STATES DISTRICT COURT

                                 MIDDLE DISTRICT OF LOUISIANA

BRANDON ALBERT SIBLEY &                                                          CIVIL ACTION
HOWARD GARY BROWN

VERSUS                                                                           NO. 23-24-SMH-CBW

SHELLY D. DICK, et al.



    THE UNITED STATES OF AMERICA’S MOTION TO DISMISS UNDER RULES
                             12(b)(2), (5)


         The United States moves the Court to dismiss the plaintiffs’ claims against the following

defendants (collectively, the “Marshals Defendants”): United States Marshals Service; United

States Marshal William Brown, in his official capacity; United States Marshal “Jeff B.,” in his

official capacity; Attorney General Merrick Garland, in his official capacity; and Director Ronald

L. Davis of the United States Marshal Service, in his official capacity. 1 First, the plaintiffs have

failed to properly serve the U.S. Attorney with a summons as required by Rule 4(i)(1)-(3) of the

Federal Rules of Civil Procedure.              Cf. Fed. R. Civ. P. 12(b)(5) (authorizing dismissal for

“insufficient service of process”). And second, that improper service deprives the Court of

personal jurisdiction over the Marshals Defendants. Cf. Fed. R. Civ. P. 12(b)(2); Norris v. Causey,

869 F.3d 360, 368 (5th Cir. 2017) (“Deficient service means a court lacked personal jurisdiction

over a defendant . . . .”).




1
 The U.S. Attorney’s Office for the Middle District of Louisiana has not yet received approval to represent any of the
Marshals Defendants in their individual capacities. However, the United States notes that its arguments in this motion
are equally applicable to any individual-capacity claims asserted by the plaintiffs.
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       In support of this motion, the United States submits the attached memorandum and the

following exhibit:

       Exhibit A:     Declaration of Bonnie J. Pittman, Mar. 20, 2023.

       The United States requests that the Court grant its motion and dismiss the plaintiffs’ claims.

       Baton Rouge, Louisiana, this 20th day of March, 2023.

                                              UNITED STATES OF AMERICA, by

                                              RONALD C. GATHE, JR.
                                              UNITED STATES ATTORNEY



                                              /s/ Katherine K. Green
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                                CERTIFICATE OF SERVICE

       I certify that on March 20, 2023, I served a copy of The United States of America’s Motion

to Dismiss Under Rules 12(b)(2), (5) on the following individuals by U.S. mail:

              Brandon A. Sibley                                  Howard G. Brown
              17125 Cline Drive                                 1344 Lakeridge Drive
             Maurepas, LA 70449                                Baton Rouge, LA 70802

       Baton Rouge, Louisiana, this 20th day of March, 2023.

                                                     /s/ Katherine K. Green
                                                     Katherine K. Green, LBN 29886
                                                     Assistant United States Attorney


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